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                    EXHIBIT A
          Case 1:01-cv-12257-PBS Document 6569-2 Filed 10/05/09 Page 2 of 4




                R. Christopher                               To "Lavine, Mark (USAFLS)" <Mark.Lavine@usdoj.gov>
                Cook/JonesDay
                                                             cc "St.Peter-Griffith, Ann (USAFLS)"
                Extension x4-3734
                                                                <Ann.St.Peter-Griffith@usdoj.gov>, "Henderson, George
                05/20/2009 03:59 PM                             (USAMA)" <George.Henderson2@usdoj.gov>, "Jim Breen"
                                                            bcc
                                                         Subject RE: Correspondence


Mark:

I have not asked you to agree to an extension of discovery, as I have not had a chance to look at these
late produced documents. If I do make such a request, I hope you will consider the reasons I articulate
before refusing to agree. Otherwise, I might conclude that this late production was just gamesmanship.

I'll see you tomorrow.

Chris

------------------------------------------------------
R. Christopher Cook
Jones Day
51 Louisiana Avenue, N.W.
Washington, D.C. 20001-2113
202-879-3734
703-624-3885 (cell)
------------------------------------------------------


"Lavine, Mark (USAFLS)" <Mark.Lavine@usdoj.gov>

                "Lavine, Mark (USAFLS)"
                <Mark.Lavine@usdoj.gov>                      To "R. Christopher Cook" <christophercook@JonesDay.com>,
                                                                 "John Reale" <JReale@kirkland.com>, "Reid, Sarah"
                                                                 <SREID@KelleyDrye.com>, "Neil Merkl"
                05/20/2009 03:33 PM
                                                                 <NMERKL@KelleyDrye.com>
                                                              cc "St.Peter-Griffith, Ann (USAFLS)"
                                                                 <Ann.St.Peter-Griffith@usdoj.gov>, "Henderson, George
                                                                 (USAMA)" <George.Henderson2@usdoj.gov>, "Jim Breen"
                                                                 <jbreen@breenlaw.com>, "Brooker, Renee (CIV)"
                                                                 <Renee.Brooker@usdoj.gov>
                                                         Subject RE: Correspondence




Chris,

Dr. Schondelmeyer is already in Washington, we are prepared to move
forward with the depositions as scheduled, and we do not agree to an
extension of discovery beyond the current cutoff.

Mark

-----Original Message-----
From: R. Christopher Cook [mailto:christophercook@JonesDay.com]
Sent: Wednesday, May 20, 2009 2:31 PM
        Case 1:01-cv-12257-PBS Document 6569-2 Filed 10/05/09 Page 3 of 4



To: Lavine, Mark (USAFLS)
Cc: St.Peter-Griffith, Ann (USAFLS); Henderson, George (USAMA); Jim
Breen; John Reale; Brooker, Renee (CIV); Reid, Sarah; Neil Merkl
Subject: Re: Correspondence

Mark:

Following up on my last email, I have conferred quickly with counsel for
all defendants. Defendants do not wish to incur the expense of yet
another day of deposition time any more than plaintiffs. Accordingly,
we are willing to delay Dr. Schondelmeyer's deposition for a reasonable
time in order to allow plaintiffs to complete the production in response
to our subpoenas. If plaintiffs are not willing to such a
mutually-agreeable delay, we must reserve our right to depose Dr.
Schondelmeyer yet again at a later date. Given your late and incomplete
production of material I requested in February, I see no other options.

Chris

------------------------------------------------------
R. Christopher Cook
Jones Day
51 Louisiana Avenue, N.W.
Washington, D.C. 20001-2113
202-879-3734
703-624-3885 (cell)
------------------------------------------------------




               "Lavine, Mark

               (USAFLS)"

               <Mark.Lavine@usdo
To
               j.gov>                   "R. Christopher Cook"

                                        <christophercook@JonesDay.com>,

                                        "Reid, Sarah"

               05/20/2009 01:43         <SREID@KelleyDrye.com>, "John

               PM                       Reale" <JReale@kirkland.com>


cc
                                        "St.Peter-Griffith, Ann (USAFLS)"


<Ann.St.Peter-Griffith@usdoj.gov>,
                                        "Brooker, Renee (CIV)"

                                        <Renee.Brooker@usdoj.gov>,

                                        "Henderson, George (USAMA)"
        Case 1:01-cv-12257-PBS Document 6569-2 Filed 10/05/09 Page 4 of 4




                                                       <George.Henderson2@usdoj.gov>,
"Jim
                                                       Breen" <jbreen@breenlaw.com>


Subject
                                                       Correspondence




Please see attached correspondence.                 Thanks.

Mark Lavine
Assistant U.S. Attorney
Health Care Fraud Coordinator
U.S. Attorney's Office
99 N.E. 4th St.
Miami, FL 33132
(305) 961-9303
 (See attached file: 2009.05.20 Letter.pdf)


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